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Case 2:10-md-02179-CJB-DPC Document 4292-1 Filed 10/14/11 Page 16 of 32

Interview with Mr. Caleb Holloway, Roughneckh
Transocean Office
Friday, May 28,2010

Attendees: Wes Bell
Bob Seo
Diane Willey (note taker)

tart Time: 10:00 a.m.
Stop Time: $1215 am.

Mr. Caich Holloway resides in Lufkin, Texas. He has been working on the Horizon for
apptoxiinately 3 years. He wes prometed te floor hand about a year ago.

Culeb stated that “all of the davs run together” when describing the incident, bul he tried
to remember the best he could. He did remember that the guys were “fust messing
aravad”™ because it was the last night on the rig.

He arrived on tour at 11:30 a.m. on April 20, 2010. There was always a pre-tower
meeting in the living quarters io do papenvark,

When Caleh sturted, they were one man shott because Todd Ladner went home an
Monday. Shane Roshte filled in for Mr. Ladner. Mart Hughes and John Kersey had a
radio and were flagging.

othe Pmt!)

Deway ran and picked up 34 drill pipe. They were tripping down to stand 60 (6 5/8),
und going to do wnuther test. They got to 60, broke top single and made it ic top drive.
Then put on the test kelly.

There are two different kellys; one single and ong double outlet. Calc is almnst positive
that they were using the single outlet, not die double, They got ready to test, but he was
not sure if it was done with high pressure or not. The gates were closed off and the
danger Mpe was put up.

At approximately 4:00 p.o. they did not have high pressure test completed, so they called

the mechanics. There was uw pin hele in the hose. Mike Glendenning and Jerry Issac
_ came,
are

: , at os a 5
The pollution pans were mail and tipping the alann. Both pans yefe ane foot deep and
.. have sensors, Caleb crewled under the rotary table w use the vacuum hose which ran

“inte the pan. He pumped one pan out and came back up.

Caleb ate at approximately 3:30 p.m.

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Case 2:10-md-02179-CJB-DPC Document 4292-1 Filed 10/14/11 Page 17 of 32

Afler eating, he came back and they were testing unl approximately 8:30 pan. Caleb
and Adam did their start cards in the AD office.

Dewey called on the radio and said he needed one of them to go te the pump roam. At
that ime Caich, Daniel Barrens (rouvhnaeck), and Adam were logether, Adam said “T
eorts £0...8ee 5ou at 11:50" bur Caleh suid he knew Adan would be there the rest of the
night,

Caleb heard Dewey say to sland bagk because they might be bleeding tensionere and te ©:
stay clear of the tig Alor and moon pool, Caleb did hear them bleed tensioners. :

We were BAe pumping through 3K stand pipe #1 (to the top drive},

At approximately 9 pam. Dan went on break or was cleaning somewhere, Caleb went
upstairs to open the first and second splitter valve. Dewey asked him to bleed aff tie
pressure. Pressure was rushing throughjand Caleb closed the valves and went up the
tadder. Sete Loa

Dave Young ceme from the drilling sheck, Danicl told Caleb that Dewey needed them ta
élean the pollution pan. which they did once before that day. The flow line was in front
ofthe drill shack. We checked it every night. They did not that aighs, but did before,
Cal als

Curtis came in and‘said that they were soing to blow dawn the vacuum on the starboard
side. Caleb said he would show Dan how to do this, and they went to the driller shack
the next level down, Calch caplained to Dan how the different valves lined up and to
“gmake sure the hose is ded aff" He told Dan to stay by the button and he would tell hint
1¢ kick in pump when he checked it. Caleb checked the hose.

Caleb then looked up and saw mud blowing cut to the crown. He told Dan, and they ran
back up to the walkway. Caleb saw a mud river pouring off from the rig floor onto the
deck. They had issues before with the water running off.

Sam Kennedy was watching. Caleb ren and told him to move, and they checked to see if

they could run up the steps by Hailiborton. Caleb cracked the door open to sec if they

could get there, They did eet io the bottom ofthe steps, Caleb heard “stuff falling onto

the rotary shed. He told Dun ta pet in the heavy tool roan, Mud started pouring back

and wil ever, The draw works was the only thing blocking them. Dan ran io the toul
. fouse,

Culeb tried several times to call Dewey and went to the heavy tool shed. He then wied
calling 2116 into the drill shack. He was fecling, smelling, and tasting gas. He asked
22 Dan if he agreed and Dan hed 2 “bad Ieok’ an his face, Caleb dropped the phong end
“they van aeross the deck on the forward starboard side of the rig and por into the galley
hatch. Caleh heard the engines revving, as if they were starving for at. They headed
dawn ig the life boat station, The Gghis went out, bet he had-a flash light, Caleb looked

bo

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Case 2:10-md-02179-CJB-DPC Document 4292-1 Filed 10/14/11 Page 18 of 32

out af the rig floor and it wes blowing water, gus and was misting. He looked at the
diverter line and if was peeged out,

He thinks that was the tine when one explesian happened. Caleb said that “it was
blowing like a jet engine” and thet the explosion sounded like a jet airplane, Catch and
Dan grabbed Hfe vests and mude it to the life boats, Thal is when the biggest explosion
happened. :

Caleb went inside the living quariers to see if anyone needed help, since he had a -
flashlight. ‘The steps had collapsed iato the stairwel), People were starting to go into the ©:
hathway and outside. Mud and oif was on the decks and people were Jalling.

Matt Hughes wake up and got on the side of the handrail. Water cavered the starboard
side and it was burmming. Matt was going to jump then slipped and hit his leg on
something sticking out He then [cll averboard. Calcb yelled “man overboard.”

Calch gat ante the life boat deck and into life boat #1. Dan was in #2.

That ts when the Bankston launched the fest rescue boats. Matt started swhnming.

Caleb and Jeny saw Dustin Johnson and they med to organize the mustering, Mud

started blowing on the starboard side. The derrick was on fire and there were 2 couple of
c

They storied checking people inte the heat. He saw Jimmy, the OTM, and he helped
them carry Buddy Trehan on a stretcher. Chris Pleasant helped get Buddy into the boat.
Be saw that Jimmy had insulation in his eyes, and he helped him inio the boat, Caleb
wis lust 1a get on the life boat.

They got Buddy Trehan off first since he needed medical attention. Feapie stared ta
Panic gelting out of che capsule,

They used a gumey for Buddy and got everyone onto the boat, Trey came to find out
who was hurt and also directed people onto the boat. He satd to check the crew list.

Daren Lunchky and Mike Barrell launched the lifeboats,

Caleb did net cet hurt, shhoovh the noise was “very intense” and his hearing was
“ alfected,

Afier interview comments:
The pressure was bled at approximately 9 pan. Caleb went to the vacuum unit after

bleeding the pressure, which was around 9:50 p.m. He is not sure what exploded first,
jnut said it might have been an engine.

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Case 2:10-md-02179-CJB-DPC’ Document 4292-1 Filed 10/14/11 Page 19 of 32

QUESTIONS FOR INTERVIEW
The attached questions ware brought to this interview by Bob ScottiWes Beil

Person Interviewed: Caleb Halloway
Daie of Interview: May 24, 2010

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Boh Scott's Interview Questions
OIM / Toolpusher / Driller / Assistant Driller

Can you remember and deseribe the sequence of events that tock place the afierncon of
the incident up to and efter the explosion?
When did you become aware there was a problem in the hole?

Wha in Transocean is in direct communication with the company man on the ng on well
matlers?

When did vou see the P&:A program for the well?
Did you have any concerns with the program?
(if yes, what were they and how were they resolved?)

(Were there any parts of the P&A program that were new of novel to you?)

Was there a meeting to discuss and advise everyong un the negative testing te take place
and tse displacement of the hole ta water prior to the cement job?

What is expected of the driller if he experiences well bore fluids flowing above the rig
floor frum the rojary table?

Did you have any concems of the 9 7/8” easing job?

Did BP discuss with TOI why they did not want to circulate ali the way round prior to the
cement job on the 9 7/8" / 7" casing?

There was 4 problem noted in the LADC reports about a problem with the aomon
&ytipment prior to cementing the casing.

Where was the ng eréw located prior to the explosion?

Wha fom TOT checks the displacement figures siven by the BP rep?

TRN-MDL-00490837

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HANDWRITTEN NOTES

Provided by: Diane Willey
Person Interviewed: Caleb Holloway
Date: May 28, 2010

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Interview Plan

Probable lines of enquiry, key questions etc:

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Case 2:10-md-02179-CJB-DPC Document 4292-1 Filed 10/14/11 Page 25 of 32

interview with Mr. Caleb Holluway, Roughneck
Transecean Office
Friday, May 28, 2010

Ationdecs: Wes Bell
Bob Scott
Diane Willey (note taker)

Start Time: 10:00 a.m.
Stop Time: 11:15 am.

Mr. Caleb Holloway resides in Luikin, Texas. He has been working oa the Horizon for
approximately 3 years. He was promoted to ae about 2 year ago.
Pl mee he

Caleb steted that “all of the days run together” when describing the incident, but he tried
te remember the best he could. He did remember thet the guys were “just messine
around” because it was the last night on the rig,

He arrived on {i tasree at 11:30 a.m. on April 20, 2010. There was always a pre-tewer
ineetag in the living quarters to do paperwork.

When Caleh started, they were one mun short because Todd tae went home on
Monday. Shane Zeseug f filled in for Mr. Lataer. Matt Hughes and John Kytsey hed a
radio and were figesing. * Res hs Ladner
ey ven and drill
Sex ee WAR ATS up Be we acd pipe. They were tripping down ta stand 60 (6 5/8},
Ec taeé-and do another test. They gat to 60, broke top single and made it to top
drive. The put on the test kelly.

There are two different kellys; one single end one double outlet. Calch is clmost positive
that they were using the single cutlet, not the double. They pot ready to dest, but he wes
not sure if it was done with high pressure or not. The gaies were closed off and the
danger tape was put up.
reat completed

At approximately 4:00 pam. they did aor have high pressure/ so they eAlled the
mechanics. There was a pin hole in the hose. Mike Glendenning and Jerry Issac came.

pollution
The colsies pans were full and tripping the alarm. Both pans were one foot deep and
have sensors. Coleh crawled under the rotary table to use the vacuum hose which ran
into the pan. He pumped one pan cut and came back up.

Caleb alc at approximately 3:30 p.m.

Aer cating, he came back and they were lusting unt) approximately 8:30 pam. Caleb
and Adam did their start cards in the AD offiec,

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Case 2:10-md-02179-CJB-DPC Document 4292-1 Filed 10/14/11 Page 26 of 32

Dewey called on the radia and said he needed one of them to go to the pump room. At
that time Caleb, Daniel Barrens (roughneck), and Adam were together. Adem said “tf
gama go...gee you at 11:30" but Celeb said he Adam would be there the rest ‘of the night.
, Kaew wn, re tonsionerS
Caleb heard Dewsy say to stand back because then might be bleeding: and stayyelear gt
the rig floar and mocnr pool. Caleb did hear thé teed Jonsionogg, ,. * i v
Ficeea es verean “ been a
We were geting eo HC stand pipe one (to the tap drive).

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“oo ca 2b ran opsta tairs and opensdiefirst and second Valve. Pressure was rolling through
f he is ey iol Syty told ita to blsedfolf' to witestire. Caleb did this before, But sai theze
i wer? usually ths arare three guys domg i, He was alone to do the bleeding this time,
i Aon however,

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i eT i ir kl wish Oot Een STI, 5”
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NN Alt approxima ately 9 pam. Deh went yb break or was cleaning“Somewhere, hice weat
mo upstairs to open the first and-second/valve, Dewey asked to bleed off Pressure was
eotiog through trevisertaititn, Calcb closedyind went up the fadder,
Wathen vy Bnd & yaives
Dave Young came som the drilling shack, <eteberantedthe-velse andcloged the valves
thecal Doveythichadbeerdene. Daniel told Caleb that Dewey needed them to
Clgear apiece the pollution pan, which they did once before that day. They eetie-st
The How fine was in front of tthe drill shack. We checked it every night They did nat
thal nizht, but did before, They at amet X

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Curtis came in and said that they were going to blow down the vacuum on the starboard
side. Caleb said he would show Dylh how ta do this, and they went asi, ta the driller
shack et dhencperamiemed die next level dawn. Caich explained to Den KE how the
dilereni valves lined up and to “make sure the hose is ted off” He told Dan to stay by
the button and he would tell him when J he checked #t. Caleb checked the hase,
+e Kael an Pump yo

Caleb then looked up and sew mud blowing out to the crown. He told Dea, and they ren
back up to the walkway. Caleb saw a mud river pouring off from the rig floar ante the
deck. They had issues before with the water running off. 2

Sam Kennedy wes watching. Celeb ran and teld him to move, and they checked to see if
they could run up the steps by Halliburton. Caleb cracked the dour open to sue if they
souid ger there, They did get te. the | battom of the steps. Calch heard “stofi” falling onte
the rotary shed. He told exexysaelo get in the heavy tool room. Mud stared pouring
back and all over. The draw works wos the only thing blocking them. Don man to the
tool house, a
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: : I 4 2 \ tee een} oS Looe -
Caleb tried several times to call Dewey, Ane Lote im hoe; Feb) “ee

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Case 2:10-md-02179-CJB-DPC Document 4292-1 Filed 10/14/11 Page 27 of 32

Catch then tried calling 2N6i into the rit shack, He was feeling, smelling, and tasting ;
was. He asked Dyfi if he agreed and RFA had a “bad leck" on his face, Caleb dropped heara
the phone and they.ran t ta-the-crceabar 2 and got. info the galley hatch, Caleb katte

engines "8 rowing, 1S they were sti surving | for air. ended | oF tc “the lift boat s station,

blowin: ing water, 2s,
jt was pepyed out.

He thinks that was the time when one explosian happened. Caleb said thot sie WRS
“blowing Eke a jet engine” and thar t 2 explosi jan sounded Hike a jet airplane. Caleb-and
Dgh e grabbed life veats and made it to the capsules Thar is when the biggest explosion
he Soened. i re boat. :

Caleb went inside the/living quarters to see if anyone needed help, since he had «
flashlight. The steps‘collapsed into the stairwell. People wer tarting to £0 into the
hallway aod outside. Mud and oil was on the decks and: people were. falling. He-could

ef pee, ae. ~~
That is when the Bankston launched Sheps boat. Matt started swimming.

cal and Jery saw Dustin Johnson and they tried to organize the mustering. Nitrogen #3 ved
taried blowing on the starboard side. The derriek was on fire and there were a couple of
more explosions,

They started chesing people Inta the boat. He saw Jimmy, the OTM, and he helped
them werd.carry Buddy Trakea on 2 stretcher, Chris Pleasant helped get Buddy into the
bout. AJummy hed insulation in bis eyes, und he helped him inte the boat.
Caleb was last to: get on ihe life boat.

They got Buddy Trahan olf first since he needed medical attention. People started ta

panic gesting aut ofthe ‘Capsule, \
: ° joa Tenet

They used @ gumey- nd gat everyone onte the boat. Tray came to find out who was huri
andalse direcied people onto the boat. He said to check the crew Hist. He saw Dan’s" ¢
: name highlighted,

Daren Lunchky and Mike Barrel] launched the lifeboats.

Caleb did not get hurt, although the noise wes “very intense™ and his hearing was
affected,

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Case 2:10-md-02179-CJB-DPC Document 4292-1 Filed 10/14/11 Page 28 of 32

After interview comments:

The pressure was bled gt approximately 9 pm. Caleb went to the vacuum cnit after
bleeding the pressurc, which was around 9:30 pm. He is not sure what exploded first, ,

put said it might. have been an engine.

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DRAFTS OF INTERVIEW

Provided by: Bob Scoit/vVes Ball
Person Interviewed: Caleb Holloway
Date: . _ May 28, 2010

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Interview with Mr. Caleh Holloway, Roughneck
Transocean Office
Friday, May 28, 2010

Attendees: Wes Bell
Bob Scart
Diane Willey (note leaker}

Start Time: 10:00 a.m.
Stop Time: 11:15 am.

Mr. Caleb Holloway resides in Lufkin, Texas. He has been working on the Harizen for
approximately 3 years. He was promoted to ficer hand about 2 year ago.

Celeb stuted that “all of the davs rum together” when deseribing the incident, but he tried
to remember the best he could. He did remember thet the guys were “just messing
arqund” because it was the last night on the rig.

He arrived on tour at 11:30 am. on April 20, 2010. There was always a pre-tover
mecting in the living quarters to do paperwork.

When Caleb started, they were one man short because Todd Ladner went home on
Monday. Shane Roshto filled in for Mr. Ladner, Matt Hughes and John Kersey had a
radio and were flagging.

Dewey ran and picked up 3 4 doll pipe. They were tipping down io stand 60 (6 3/8},
und going to do ancther test. They got to 60, broke ton single and made it te top drive.
Then put on the test kelly.

There are hvo different kellys: one single and one double outlet. Caleb is almost positive
‘thet they were using the single outlet, not ihe double. They got ready to test, bul he was
noi sure if is was done with high pressure er not. The gates were cinsed off and the
danger tape was put up.

At approximately 4:00 p.m. they did not have high pressure test completed, so they cailed
the mechanics. There was 2 pin hole in the hose. Mike Glendenning and Jerry Issac
oy, bame,

The pollution pans were full and tripping the alann. Hoth pans were one foot deap and
_ have sensors. Caleb crawled under the rotary table to use the vacuum hose which nm
“inte the pan. He pumped one pan out and came back up. :

Caleb ate a1 approximately 3:30 p.m.

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After eating, he came back and they were testing until approximately 3:30 p.m. Caleh
and Adam did their start cards in the AD office,

Dewey called on the radio and said he needed one of them to 26 to the pump room. At
that time Caleb, Daniel Barrens (roughneck), and Adam were together. Adam said
gotta go..,see you at 11:30" but Caleb said he knew Adam would be there the rest of th:
night. . “

Caleb heard Dewey say to stand back because they might be biccding tunsioners sand to oo “
stay clear of the rig flacr and moon pool. Calch did hear them bleed tensioners./. 6 .

We were voing pumping through the stand pipe #1 {to the tap drive). /-.

At approximately 9 p.m. Dan went on break or was cleaning somewhere. aleb went
upstairs to open the first and second splitter valve. Dewey # ‘eked ‘hith'to bleed off the
pressure. Pressure was reshing through and Caleb closed: the valves’ and went up the

adder,

C

Dave Young came from the drilling shack. Daniel told Caleb that Dewey needed them 10
clean the pollution pan, which they did once before ‘that’ ‘day.’ The flow line was in front
of the drill shack. We checked it every nig ey ‘di uot that night, but did before,

Curtis came in and said that they
side. Caleb said he would show:D

they:could run cup the steps wy Halliburton. Caleb cracked ‘he door open to see if they

there. “They did setta the bottom of the steps. Caleb heard * “stati failing onto

the: sotary shed. He told Dan to got in the heavy tool room. Mad started pouring back

.., andall overt,” The draw works was the only thing blocking them. Dan ran to the tool
"houses! 3)

.. Caleb tried several times to call Dewey and went to the heavy tool shed. He then tied
“cP !patling 2116 into the doll shack. He was Peeling, smelling, and tasting gas. He asked
Dan Whe avrecd and Dan had a “bad jock” on his fice. Caleb dropped the phone and
they ren across the deck cn the forward starboard side of the rig and got into the galley
heich. Caleb heard the engines revving, as 4 they were starving for air. They headed
down to the life hoai station. The lights went out, but he had a flash light. Caleb looked

yo

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out at the rig floor and it was blowing water, 225 and was misting. He looked at the
diverier line and it was pexped out.

He thinks that was the time when one explosion happened. Caleb said that “i was
blowing like a jet engine’ and that the explosion sounded like a jet airplane. Caleb and
Dan grabbed life vests and made it io the life boats. That is when the biggest explosion
happened, :

Caleb went inside the living quarters to see if anyone needed help, since he had 2
flashlight. The steps hed collapsed into the stairwell, People were starting to go inte the *
haliwey and outside. Mad and ofl was on the decks and peaple were falling.

Matt Hughes woke up and got on the side of the handrail. Water covered the starboard
side and it was buming, Matt was going to jump then slipped and hit his ieg on
something slicking out, He then fell overboard. Caleb yelled. “man overboard.”

Caleb gat onto the life boat deck and into life boat 1. Dan was In #2,

That is when the Benkston launched the fast rescue boats. Mati staried awimming.

Caleb and Jemy saw Dustin Johnson and they tried to organize the mustering. Mud
started blowing on the starboard side. The derrick was on fire and there were & couple of
more explosions.

They started checking people into the boat. He saw Jimmy, the OIM, and he helned
them carry Buddy Trahan on a stretcher. Chris Pleasant helped get Buddy into the boat.
He saw thal Jimmy had insulation in his eyes, and he helped him into the boat. Celeb

was lasi to get on the life boat.

They got Buddy Trahon off first since he aceded medica} attention. People storied to
panic getting out of the capsule,

They used a gurney for Buddy and vot everyone onte the boat. Troy came to find out
who was hurt and also directed people onto the boat. He said to check the crew list.

Daren Lunchky and Mike Barreli launched the lifeboats.

+ Caleb did not get hurt, altiough the noise was “very intense” aud his hearing wos
- affented,

After interviews comments:

“The pressure was bled at approximately 9 pam. Caleb went to the vacuum unit after
bleeding the pressure, which was around *30 Pa ma. He is not sure what caploded first,
but said it might havé been an engine. ,

tak

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